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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 1:21-cr-719 (JEB)
                                              :
CYNTHIA BALLENGER, and                        :
CHRISTOPHER PRICE,                            :
                                              :
                       Defendants.            :

           NOTICE OF DEFENDANTS’ CONSENT TO FILING EXTENSION

       The United States, by and through its attorney, the Untied States Attorney for the District

of Columbia, hereby provides notice to the Court that the government communicated with counsel

for the defendants regarding the government’s motion for extension to file response. ECF No. 110.

The defendants consent to the extension, but they would similarly request an extension to file their

reply to May 17, 2023.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052

                                              /s/ Ashley Akers
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